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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )                       MJ 22-0927 JHR
                                              )
                                              )
VICTOR MUNOZ,                                 )
                                              )
                       Defendant.             )


               ORDER TOLLING SPEEDY TRIAL TIME COMPUTATION

       The Court, having reviewed the Defendant’s Waiver of Grand Jury Presentment, Doc. 14,

finds the ends of justice served by allowing the request to toll the speedy indictment

computation. The Court finds that the requested waiver outweighs the interests of both the

Defendant and the public in a speedy indictment. The Court finds that tolling the speedy

indictment computation will substantially increase the likelihood that the parties reach a

settlement in this case that would avoid the need for a trial. The Court finds that the public’s

interest in a speedy indictment is outweighed by: 1) the public’s interest in the potential for pre-

indictment resolution of this case, which would result in a quicker resolution of the case and

would spare judicial, prosecutorial, defense, and law enforcement resources that would be

expended if this case proceeded to trial; and 2) the potential benefit conferred upon the

Defendant in reaching an expedited resolution of the case. See 18 U.S.C. § 3161(h)(7).

       IT IS THEREFORE ORDERED that a period of time not to exceed an additional 90

days, for a total of 120 days, is hereby excluded from the speedy indictment time computation

pursuant to 18 U.S.C. § 3161(h)(7)(A).


                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
